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Manufacturer                  Model                           Type                   QTY                Color
      Cybex                   650A Arc TB                   Arc Trainer              2                    Red
      Cybex                    650A Arc                     Arc Trainer              3                    Red
      Cybex                  770 treadmill                   Treadmill               16                   Red
   Free motion                free runner                    Treadmill               3                   silver
      Cybex                       770                       Upright Bike             3                    Red
      Cybex                       770                         Rec Bike               3                    Red
      Octane                      3700                        Elliptical             5                   Silver
      Precor                     Assaut                      Treadmill               1                   Silver
       Helix                      Ellip                       Elliptical             1                   Silver
      Octane                      Ellip                       Elliptical             3                   Silver
      Octane                     x6000                      Rec Hybrid               1                   Silver
      Marpo                 rope pull trainer             rope pull trainer          1                   black
    Concept 2                  Concept 2                       Rower                 2                   Silver
   Stairmaster                  stepmill                      Stepmill               1                   Silver
     Schwinn                    Spinner                       Spinner                8                   White
  Jacobs ladder                 Climber                       climber                1                   black
   Stairmaster                  Climber                       climber                1                   black


     Cybex                        VR3               Selectorized Seated Leg Press     1           Black Chrome/Blk Pads
     Cybex                        VR3                Selectorized Seated Leg Curl     1           Black Chrome/Blk Pads
     Cybex                        VR3                     Selectorized Glute          1           Black Chrome/Blk Pads
     Cybex                        VR3                 Selectorized Leg Extension      1           Black Chrome/Blk Pads
     Cybex                        VR3                  Selectorized Chest Press       1           Black Chrome/Blk Pads
     Cybex                        VR3                  Selectorized Biceps Curl       1           Black Chrome/Blk Pads
     Cybex                        VR3                Selectorized Hip Abduction       1           Black Chrome/Blk Pads
     Cybex                        VR3                Selectorized Hip Adduction       1           Black Chrome/Blk Pads
     Cybex                        VR3                 Selectorized standing Calf      1           Black Chrome/Blk Pads
     Cybex                        VR3               Selectorized Triceps Extension    1           Black Chrome/Blk Pads
     Cybex                        VR3                     Selectorized Row            1           Black Chrome/Blk Pads
     Cybex                        VR3                 Selectorized Lateral Raise      1           Black Chrome/Blk Pads
     Cybex                        VR3                Selectorized Shoulder Press      1           Black Chrome/Blk Pads
     Cybex                        VR3               Selectorized Pec Fly/Rear Delt    1           Black Chrome/Blk Pads
     Cybex                        VR3                   Selectorized Pulldown         1           Black Chrome/Blk Pads
     Cybex                        VR3                         Abdominal               1           Black Chrome/Blk Pads
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   Cybex                      VR3                     Selectorized Back Extension       1          Black Chrome/Blk Pads
   Cybex                       FT                          Functional trainer           1                    red
   Matrix                    circuit                           Abdominal                1                   silver
   Matrix                    circuit                            Lat Pull                1                   silver
    Misc                      Turf                                                      1                   green
    Hoist         MC-7005 MotionCage Package   MC-7005 MotionCage Package               1                 red/black
Misc Group X                                                Misc Group X                1              Silver/blk pad
   Matrix                  Free weight                     Muti adj bench               1
   Precor                  Free weight                     Muti adj bench               1              Silver/blk pad

   Cybex                    Modular                          Lat Pulldown               1               Red blk pad
   Cybex                    Modular                           Asst dip chin             1               Red blk pad
   Cybex                    Modular                           Seated Row                1               Red blk pad
   Cybex                    Modular                          High low pully             1               Red blk pad
   Cybex                    Modular                Cable cross half to make crossover   1               Red blk pad

   Cybex                    Plate Load                       Smith Press                3                    red
   Cybex                    Plate Load                     Leg press Station            1                    red
   Cybex                    Plate Load                        Seated Calf               1              silver red pad

  Matrix                   Power cage                          Power cage               1              silver blk pad
  Matrix                   Free weight                        Bench press               1              silver blk pad
  Matrix                   Free weight                        Incline Press             1              silver blk pad
   Cybex                   Free weight                       Leg raise chair            1                  red/blk
   Cybex                   Free weight                     Decline ab bench             1                  red/blk
   Cybex                   Free weight                        45 degree be              1                  red/blk
   Cybex                   Free weight                          flat bench              3                  red/blk
   Cybex                   Free weight                          Adj incline             3                  red/blk
   Cybex                   Free weight                         Barbell rack             1                    red
   Cybex                   Free weight                  Twin tier dumbell racks         3                    red
   Cybex                   Free weight                        precher curl              1                    red
   TRUE                      stretch                          stretch cage              1                   silver
  Inbody                   assessment                    fat and muscle tester          1                   white
    TKO                    Free weight                       accessory rack             1                   silver
    GPI                     Dumbells                             5-50 set               2                 urethane
    GPI                     Dumbells                            60-80x10                1                 urethane
                               Bars                               full set                                urethane
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                      Plates                          full set                          urethane
GPI               bells and rack          beauty bells and rack upright    1              silver
GPI               fixed barbells                    20-110 x10             1            urethane
Misc               Accessories             balls, mats bands ropes bars    1
                                      Package cost based on current used              30,000-33,000
                                        fitness euqipment market vlaue

               Assessment done by              Mike Caruso
                Industry Authority        WeBuyGymEquipment.com
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